Case 1:13-cr-00860-LEK     Document 211       Filed 02/28/14   Page 1 of 1 PageID.389



                 IN THE UNITED STATES DISTRICT COURT

                         FOR THE DISTRICT OF HAWAII

UNITED STATES OF AMERICA,     )                  CR 13-00860LEK-17
                              )
          Plaintiff,          )
                              )
      vs.                     )
                              )
(17) AKONI DAVIS              )
                              )
          Defendant.          )
_____________________________ )


                     ACCEPTANCE OF PLEA OF GUILTY,
                       ADJUDICATION OF GUILT AND
                         NOTICE OF SENTENCING

             Pursuant to the Amended Report and Recommendation of the United

States Magistrate Judge, to which there has been no timely objection, the plea of

guilty of the Defendant to Count 4 of the Indictment is now Accepted and the

Defendant is Adjudged Guilty of such offense. All parties shall appear before this

Court for sentencing as directed.

             IT IS SO ORDERED.

             DATED: Honolulu, Hawaii, February 28, 2014.



                         /s/ Leslie E. Kobayashi
                         Leslie E. Kobayashi
                         United States District Judge
